                Case 1:13-cr-00219-LJO-SKO Document 33
                            UNITED STATES DISTRICT     FiledFOR
                                                    COURT    06/13/13
                                                                 THE Page 1 of 2
                                    EASTERN DISTRICT OF CALIFORNIA


   UNITED STATES OF AMERICA,             )
                                         )
                      Plaintiff,         )                       Case No.        1:13-cr-00219 LJO SKO
                                         )
         VS.                             )                       DETENTION ORDER
                                         )
   ERIC ALBERTO HERRERA,                 )
                                         )
                      Defendant.         )
   _____________________________________ )

   A.    Order For Detention
         After conducting a detention hearing pursuant to 18 U.S.C. § 3142(f) of the Bail Reform Act, the Court
         orders the above-named defendant detained pursuant to 18 U.S.C. § 3142(e) and (i).

   B.    Statement Of Reasons For The Detention
         The Court orders the defendant's detention because it finds:
                 X      By a preponderance of the evidence that no condition or combination of conditions will
                        reasonably assure the appearance of the defendant as required.
                 X      By clear and convincing evidence that no condition or combination of conditions will
                        reasonably assure the safety of any other person and the community.

   C.    Findings Of Fact
         The Court's findings are based on the evidence which was presented in Court, and that which was contained
         in the Pretrial Services Report, and includes the following:
          X       (1) Nature and circumstances of the offense charged:
                   X      (a) The crimes: 18 U.S.C. § 371-Conspiracy to Steal and Possess Stolen Mail; 18 U.S.C. § 1708-
                          Possession of Stolen U.S. Mail and 18 U.S.C. § 1708-Theft of U.S. Mail
                          are serious crimes and carry a maximum penalty of:       5yrs/$250,000
                          (b) The offense is a crime of violence.
                          (c) The offense involves a narcotic drug.
                          (d) The offense involves a large amount of controlled substances, to wit:

                (2) The weight of the evidence against the defendant is high.
                (3) The history and characteristics of the defendant, including:
                        (a) General Factors:
                        The defendant appears to have a mental condition which may affect whether the defendant will
                        appear.
                        UNK The defendant has no family ties in the area.
                        UNK The defendant has no steady employment.
                        UNK The defendant has no substantial financial resources.
                        UNK The defendant is not a long time resident of the community.
                        UNK The defendant does not have any significant community ties.
                                 Past conduct of the defendant:

                        UNK     The defendant has a history relating to drug abuse.
                        UNK     The defendant has a history relating to alcohol abuse.
                        UNK     The defendant has a significant prior criminal record.
                                The defendant has a prior record of failure to appear at court proceedings.
                                The defendant has a history of violating parole.
                                The defendant has a history of probation and parole violations.

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                           (b) Whether the defendant was on probation, parole, or release by a court:
                           At the time of the current arrest, the defendant was on:
                                    Probation
                                    Parole
                            X       Release pending trial, sentence, appeal, or completion of sentence.
                           (c) Other Factors:
                                    The defendant is an illegal alien and is subject to deportation.
                                    The defendant is a legal alien and will be subject to deportation if convicted.
                                    Other: [The defendant is subject to a no-bail immigration detainer.] OR
                                            [The defendant is a sentenced state prisoner.] [WRIT]

                   (4) The nature and seriousness of the danger posed by the defendant's release are as follows:

                   (5) Rebuttable Presumptions
                   In determining that the defendant should be detained, the Court also relied on the following rebuttable
                   presumption(s) contained in 18 U.S.C. §3142(e) which the Court finds the defendant has not rebutted:
                           a.      That no condition or combination of conditions will reasonably assure the appearance of
                                   the defendant as required and the safety of any other person and the community because
                                   the Court finds that the crime involves:
                                            (A) A crime of violence;
                                            (B) An offense for which the maximum penalty is life imprisonment or death;
                                            (C) A controlled substance violation which has a maximum penalty of 10
                                            years or more; or,
                                            (D) A felony after the defendant had been convicted of 2 or more prior
                                            offenses described in (A) through (C) above, and the defendant has a prior
                                            conviction for one of the crimes mentioned in (A) through (C) above which is
                                            less than 5 years old and which was committed while the defendant was on
                                            pretrial release.
                           b.      That no condition or combination of conditions will reasonably assure the appearance of
                                   the defendant as required and the safety of the community because the Court finds that
                                   there is probable cause to believe:
                                            (A) That the defendant has committed a controlled substance violation which
                                            has a maximum penalty of 10 years or more.
                                            (B) That the defendant has committed an offense under 18 U.S.C. §924(c)
                                            (uses or carries a firearm during and in relation to any crime of violence,
                                            including a crime of violence, which provides for an enhanced punishment if
                                            committed by the use of a deadly or dangerous weapon or device).

   D.      Additional Directives
           Pursuant to 18 U.S.C. §3142(i)(2)-(4), the Court directs that:
           The defendant be committed to the custody of the Attorney General for confinement in a corrections facility
           separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending
           appeal; the defendant be afforded reasonable opportunity for private consultation with counsel; and, that on order
           of a court of the United States, or on request of an attorney for the Government, the person in charge of the
           corrections facility in which the defendant is confined deliver the defendant to a United States Marshal for the
           purpose of an appearance in connection with a court proceeding.


   IT IS SO ORDERED.

        Dated:    June 13, 2013                                      /s/ Sheila K. Oberto
                                                         UNITED STATES MAGISTRATE JUDGE


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